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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 MAHER RUSTOM,

                Plaintiff,                              Case No. 1:18-cv-05278

 v.                                                     HONORABLE, CHARLES NORGLE
                                                             Judge Presiding
 NASER RUSTOM,
                                                        HONORABLE, SHELIA FINNEGAN.
                Defendants.                                  Magistrate Judge

            REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

        Defendant, by and through his attorneys, the Law Office of Russell C. Green and Hughes

Socol Piers Resnick Dym, Ltd., submits this Reply in Support of his Motion to Dismiss pursuant

to Rules 9 and 12(b)(6) of the Federal Rules of Civil Procedure. Plaintiff’s Amended Response to

the Motion to Dismiss (“Resp.,” Doc. 16) ignores the Motion to Dismiss and controlling case law

presented therein. Plaintiff Maher’s brief simply repeats the allegations of the Complaint verbatim,

but the allegations no more state a viable claim when repeated in a brief than when initially pled.

Plaintiff still has not alleged a single viable cause of action and the Complaint should be dismissed

in its entirety pursuant to Rules 12(b)(6) and 9.

         A. Count I fails to plead duty or a claim for negligent misrepresentation.

        Plaintiff Maher admits that to state a claim for negligent misrepresentation, he must allege

“a duty owed by defendant to plaintiff.” Resp. at 7. Yet Maher fails to either plead or even attempt

to explain in his brief how Naser could have any duty to Plaintiff Maher. Illinois recognizes “only

two circumstances” when such a duty exists: first where the false information “results in physical

injury to a person or harm to property” or second “in the business of supplying information.”

Brogan v. Mitchell Int'l, Inc., 181 Ill. 2d 178, 184 (1998). All of the cases cited by Plaintiff involve


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one of those two types of duty, Resp. at 7-8, and neither situation applies here. 1 Defendant Naser

simply had no duty toward Plaintiff Maher and for this reason alone the negligent

misrepresentation claim fails.

         Maher discusses Rozny v. Marnul, 43 Ill. 2d 54 (1969), at length as purported support for

the theory that a claim of negligent misrepresentation “can be pleaded where a defendant makes

the misrepresentation to a third party concerning the plaintiff.” Resp. at 8. But as plaintiff admits,

Rozny was a case where the plaintiff relied on defendant’s false statement in a survey. See Resp.

at 8 (plaintiff, “[r]elying on the [false] survey” of defendant, built a driveway). Plaintiff Maher’s

Complaint here contains no allegation that he relied on any statement by Defendant Naser.

         Maher also fails to plead plausibly how Naser was negligent or what specific purported

statements are at issue. Maher states generically that Naser “falsely and fraudulently represented

to the circuit court in DuPage County that his mother wanted an order of protection.” Resp. at 1.

But there is no allegation or explanation for how Naser, a non-party to that litigation, made any

statement, let alone a false statement, to the Circuit Court of DuPage County. The Verified Petition

for an Order of Protection for Nawal includes no statement from Naser, nor did he “present”

anything to the Circuit Court of DuPage County. See Ex. A to the Motion to Dismiss (Verified

Petition for Order of Protection). Naser is not an attorney, nor did he act on his mother’s behalf.

The petition for an order of protection was verified and filed by Nawal’s separate counsel, Ms.

Mervate Mohammad. Id. at 9.

         Maher does not plead when or where alleged statements were made. Maher does not plead

how any statement was allegedly “presented” by Naser, who was not a named party to the state



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 Plaintiff alleges that he had a stroke, but does not claim that as the basis for any duty. Further, as explained below,
according to the Complaint the stroke pre-dates the Order of Protection. The allegation is thus impossible and any
purported stroke cannot be the basis for a duty.

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court proceedings. Maher does not plead the content of the statement, or what Naser himself

actually did or said. For any and all of these reasons, Count I for negligent misrepresentation

should be dismissed.

   B. Count II fails to plead fraud with plausibility or particularity.

       Plaintiff Maher has utterly failed to plead the elements of a claim of fraudulent

misrepresentation, let alone with the particularity required by Rule 9(b). Plaintiff has not identified

the allegedly false statement made by Naser, let alone “the who, what, when, where, and how” of

the purported fraudulent statement. DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th Cir. 1990).

Plaintiff argues generally that “Naser intentionally made said false statements to the circuit court,”

Resp. at 10, but never states the content or circumstances of the purported statements. Instead, he

simply points to a statement by “Vivian Khalaf, Maher [sic] Mother’s personal attorney,” id., with

no explanation for how Maher can sue Naser for a statement made by Ms. Khalaf.

       Moreover, there is no allegation or explanation for how Naser could or would know any

statement he made was false, how Maher relied on any purportedly false statement made by Naser,

or how such a statement injured—and was intended to injure—Plaintiff Maher. Instead, Plaintiff

Maher doubles down on the impossible claim that Naser’s statements caused the entry of an order

of protection, which then caused Maher to have a stroke. Resp. at 9. But Maher alleges that he

suffered “a stroke on the same day” Nawal left her home, March 20, 2018, Complaint at 4, ¶ 11

and at 5, ¶ 12, and the order of protection was entered six days later on March 26, 2018. Verified

Petition, Ex. A at 1. The alleged causal connection is temporally impossible. Tamayo, 526 F.3d

at 1086 (‘“A plaintiff pleads himself out of court when it would be necessary to contradict the

complaint in order to prevail on the merits[,]”’ (citation omitted) noting that “our pleading rules

do not tolerate factual inconsistencies in a complaint”).



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       Plaintiff Maher fails to allege the elements of fraudulent misrepresentation, let alone with

any plausibility or the details required by Rule 9(b). Windy City Metal Fabricators & Supply, Inc.

v. CIT Tech. Fin. Servs., Inc., 536 F.3d 663, 668 (7th Cir. 2008). The fraud claim should be

dismissed pursuant to Rules 12(b)(6) and 9(b).

   C. Count III does not plead a claim for IIED.

       The Complaint does not allege a single element of an IIED claim, nor does Plaintiff’s

Response brief seriously attempt to defend the claim. The Response cites not a single case in

support of the allegation that the conduct alleged in the Complaint is “extreme and outrageous”

under Illinois law. The sole case relied on by Plaintiff, Richards v. U.S. Steel, 869 F.3d 557 (7th

Cir. 2017), was also cited by Defendant for the elements of an IIED claim, but in fact holds that

the conduct there at issue—harassment in the workplace—was not “extreme and outrageous.”

Nothing pled in the Complaint is “so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in

a civilized community.” Schweihs v. Chase Home Fin., LLC, 2016 IL 120041, ¶51. Nor does

Plaintiff even recite Naser’s alleged intent or plausibly link any conduct by Naser to any extreme

distress. The IIED claim should be dismissed.

   D. Count IV does not plead defamation per se.

       Plaintiff admits that he only attempts to plead defamation per se, Resp. at 11-12, but ignores

binding Illinois law that defamation per se claims can only be based on statements in five specific

categories recognized by Illinois courts. Maag v. Illinois Coal. for Jobs, Growth & Prosperity, 368

Ill. App. 3d 844, 849 (2006) (listing categories of statements related to crimes, communicable

disease, lack of ability or integrity in employment or trade, or adultery). None of those categories

apply here, and for that reason alone the defamation claim must be dismissed.


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        Further, while the Complaint only pleads generally that Naser “stated that Plaintiff Maher

Rustom was abusive to his mother… in writing for the public to view,” Complaint at 7, ¶ 2,

Plaintiff now argues in the Response brief that Naser made false and defamatory statements to Ms.

Khalaf or “family members and friends.” Resp. at 12. Neither the original allegation nor Plaintiff’s

new allegation presents a specific allegedly defamatory statement. For this additional reason the

defamation claim should be dismissed. Widmar v. Sun Chem. Corp., 772 F.3d 457, 468 (7th Cir.

2014) (the complaint “must set forth the statements about which the plaintiff complains with

specificity”).

                                         CONCLUSION

        Nothing alleged or argued by Plaintiff Maher Rustom supports a viable claim for

misrepresentation (whether fraudulent or negligent), IIED, or defamation. The Response ignores

Defendant Naser’s Motion to Dismiss and the authority cited therein. Plaintiff cannot prove any

set of facts that would entitle him to relief, and, for all these reasons, the Complaint should be

dismissed in its entirety, with prejudice, and with such additional relief as the Court may deem

proper and appropriate.


Dated: March 1, 2019                                 Respectfully submitted,

                                                             /s/ Matthew J. Piers
                                                             One of the Attorneys for Defendant



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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he caused a true and correct copy of the

attached REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS, to be served

through CM/ECF system automatically to counsel of record on March 2, 2019.




                                                    /s/ Matthew J. Piers
                                                    One of the Attorneys for Defendants




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